                     FOR PUBLICATION

      UNITED STATES COURT OF APPEALS
           FOR THE NINTH CIRCUIT

 GRAHAM S. HENRY,                                  No. 09-99007
              Petitioner-Appellant,
                                                     D.C. No.
                      v.                          2:02-CV-00656-
                                                       SRB
 CHARLES L. RYAN,
              Respondent-Appellee.                     ORDER


                    Filed December 30, 2014

  BEFORE: Sidney R. Thomas, Chief Judge, and Alex
 Kozinski, Kim McLane Wardlaw, William A. Fletcher,
Ronald M. Gould, Marsha S. Berzon, Richard C. Tallman,
 Consuelo M. Callahan, Carlos T. Bea, Morgan Christen,
       and Jacqueline H. Nguyen, Circuit Judges.


                           SUMMARY*


                Habeas Corpus/Death Penalty

    The en banc court denied Graham S. Henry’s motion for
a stay of proceedings pending issuance of a decision in
McKinney v. Ryan, No. 09-99018, and directed the Clerk to
issue the mandate, in this case in which this court voted in

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   This summary constitutes no part of the opinion of the court. It has
been prepared by court staff for the convenience of the reader.
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favor of en banc rehearing of a three-judge panel’s April 8,
2014, order denying Henry’s motion for reconsideration of
the panel’s November 1, 2013, order denying his petition for
panel rehearing of its affirmance of the denial of his habeas
corpus petition challenging his conviction and capital
sentence for murder and related offenses.

    Having heard oral argument in McKinney, and having
considered the record and the briefs filed by the parties in this
case, the en banc court concluded that (1) the facts and legal
arguments are adequately presented in the briefs and record,
and that the decisional process would not be significantly
aided by oral argument; and (2) a stay of proceedings and
further en banc consideration in this case is not necessary to
secure or maintain the uniformity of this court’s decisions.


                         COUNSEL

Jon M. Sands, Federal Public Defender, Robin C. Konrad
(argued) and Amy E. B. Kapp, Assistant Federal Public
Defenders, Phoenix, Arizona, for Petitioner-Appellant.

Thomas C. Horne, Attorney General, Kent Cattani, Chief
Counsel, Criminal Appeals/Capital Litigation Section, and
Jonathan Bass (argued), Assistant Attorney General, Criminal
Appeals/Capital Litigation Section, Tucson, Arizona, for
Respondents-Appellees.
                      HENRY V. RYAN                        3

                         ORDER

THOMAS, Chief Judge:

    On April 8, 2014, a three-judge panel of this Court, with
one judge dissenting, filed an order denying Henry’s motion
for reconsideration of the panel’s November 1, 2013 order
denying his petition for panel rehearing and a stay of
proceedings pending the issuance of a decision by the en
banc panel in McKinney v. Ryan, No. 09-99018, a case
involving related issues.

    A judge of this Court sua sponte requested a vote as to
whether the panel’s April 8, 2014, order should be reheard en
banc. A majority of the nonrecused active judges voted in
favor of rehearing the order en banc. On September 4, 2014,
an order was issued granting en banc review.

    Subsequently, upon the vote of a majority of the
nonrecused active judges, this case was designated as a
related case to McKinney and consolidated for rehearing en
banc before the same en banc panel. See Ninth Circuit Rule
35-3. On December 15, 2014, in Pasadena, California, the en
banc panel heard oral argument in McKinney and held a
subsequent conference on both the McKinney and Henry
cases.

    Having heard the argument in McKinney, and having
considered the record and the briefs filed by the parties in
this case, the Court concludes that: (1) the facts and legal
arguments are adequately presented in the briefs and record,
and that the decisional process would not be significantly
aided by oral argument; and (2) a stay of proceedings and
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further en banc consideration in Henry is not necessary to
secure or maintain the uniformity of the Court’s decisions.

    Therefore, this case is submitted for decision without oral
argument. Fed. R. App. P. 34(a)(2). Henry’s motion for a
stay of proceedings pending the issuance of a decision in
McKinney is DENIED. En banc proceedings in this case are
concluded. The Clerk is directed to issue the mandate.
